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  7
                               UNITED STATES DISTRICT COURT
  8
                             CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       ROBERTA MARTINEZ                               CASE NO. 8:22-cv-1294
 11                                                   Civil Rights
             Plaintiff,
 12                                                   COMPLAINT FOR PRELIMINARY
                                                      AND PERMANENT INJUNCTIVE
 13                                                   RELIEF AND DAMAGES:
             v.
 14                                                  1. Violation of the California Disabled
                                                           Persons Act (Cal. Civil Code § 54 et
 15                                                        seq.)
 16    MANOR CARE OF FOUNTAIN                        2. Violation of the California Unruh Act
       VALLEY CA, LLC,                                     (Cal. Civil Code §§ 51 and 52)
 17
                                                     3. Violations of Americans with
 18          Defendant.                                 Disabilities Act of 1990 (42 U.S.C. §
                                                        12101 et seq.)
 19
                                                      DEMAND FOR JURY TRIAL
 20

 21         Plaintiff ROBERTA MARTINEZ complains of Defendant MANOR CARE

 22   OF FOUNTAIN VALLEY CA, LLC, and alleges as follows:

 23         1.     INTRODUCTION: Employees at Manor Care Health Services,

 24   including office staff and medical staff, told Plaintiff she could not enter the nursing

 25   home with her service dog to visit her ill friend suffering from metastasized ovarian

 26   cancer. This, despite the service dog being plainly marked as such. As a result of

 27   Defendant’s failure to implement proper a service dog policy and lack of employee

 28   training, Plaintiff was denied equal access to visit her ill friend and deliver items

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  1   that her friend had request Plaintiff to deliver to her. Plaintiff was also subject to
  2   the humiliation and difficulty having to choose between being separated from her
  3   service dog and visiting her friend.
  4          2.     As a result of Defendant’s illegal acts, Plaintiff suffered denial of her
  5   civil rights and suffered physical, mental and emotional damages. Plaintiff would
  6   like to visit her friend again, but she fears returning with her service dog to visit her
  7   sick friend until the policies of Manor Care Health Services are made accessible to
  8   disabled individuals who use service dogs, including revision of its service dog
  9   policies and necessary employee training. She has brought this lawsuit force
 10   Defendant to change its discriminatory and illegal policies, and to compensate her
 11   for refusing to allow her to visit with her sick friend while she was accompanied by
 12   her service dog because she is a physically disabled person who needs the
 13   assistance of his qualified service dog. Plaintiff seeks an injunction to protect the
 14   rights of all disabled persons, including Plaintiff, when accompanied by a qualified
 15   service dog at the Manor Care located 11680 Warner Ave, Fountain Valley, CA
 16   92708.
 17          3.     JURISDICTION: This Court has jurisdiction of this action pursuant
 18   to 28 USC sections 1331 and 1343. This Court has jurisdiction over the claims
 19   brought under California law pursuant to 28 U.S.C. § 1367.
 20          4.     VENUE: Venue is proper in this court pursuant to 28 USC
 21   section 1391(b) and is proper because the real property which is the subject of this
 22   action is located in this district and that Plaintiff’s causes of action arose in this
 23   district.
 24          5.     INTRADISTRICT: This case should be assigned to Southern
 25   Division as the real property which is the subject of this action is located in this
 26   intradistrict and Plaintiff’s causes of action arose in this intradistrict.
 27          6.     PARTIES: Plaintiff Roberta Martinez is a “qualified” physically
 28   disabled person. She suffers from diabetes, emphysema, anxiety and post-traumatic

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  1   stress disorder. Plaintiff relies upon and has trained her service dog, a Golden
  2   Retriever named “Dakota,” to assist her with certain tasks, including 1) alerting
  3   Plaintiff to changes in her blood sugar levels, 2) alerting others if Plaintiff collapses
  4   due to a medical emergency, and 3) making contact with Plaintiff by leaning
  5   against her when her anxiety level increases. Dakota has been professionally
  6   trained as a service dog, and Plaintiff reinforces that training daily. Dakota wears a
  7   vest and tag that clearly identifies him as a service dog. Plaintiff is a qualified
  8   person with a disability as defined under federal and state law. 42 U.S.C. § 12102,
  9   29 U.S.C. § 705(9)(B), and California Government Code § 12926(1).
 10         7.     Defendant MANOR CARE OF FOUNTAIN VALLEY CA, LLC, is
 11   and was at all times relevant to this Complaint the owner, operator, lessor and/or
 12   lessee of the subject business known as Manor Care Health Services where
 13   Plaintiff’s friend is receiving long term care located at 11680 Warner Ave, Fountain
 14   Valley, CA 92708.
 15         8.     Manor Care Health Services is a place of “public accommodation” and
 16   a “business establishment” subject to the requirements inter alia of multiple
 17   categories of 42 U.S.C. section 12181(7) of the Americans with Disabilities Act of
 18   1990, of California Civil Code sections 51 et seq., and of California Civil Code
 19   sections 54 et seq.
 20         9.     FACTUAL STATEMENT: Plaintiff is a person with multiple
 21   disabilities who would like to make regular visits to her friend who is being cared
 22   for at Manor Care in Fountain Valley, California. Plaintiff has been working with
 23   her service dog Dakota since he was three months old. Dakota is a Golden
 24   Retriever who was professionally trained to be a service dog. Additionally,
 25   Plaintiff has also trained and continues to train Dakota to serve her specific needs
 26   throughout their relationship. Dakota is specifically trained to assist Plaintiff with
 27   numerous tasks including alerting her when her blood sugar levels are either too
 28   high or too low, and helping her control her symptoms of anxiety by grounding

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  1   Plaintiff when she exhibits those symptoms by pressing on Plaintiff’s body with her
  2   own.
  3          10.   Dakota is a working dog; he is not a pet. Plaintiff and Dakota have
  4   trained extensively together, and they supplement that training daily. Plaintiff takes
  5   Dakota everywhere with her in public. It is important they stay together at all times
  6   because (a) Dakota provides important services for Plaintiff; and (b) it is part of the
  7   training and bonding requirement that they be together constantly to maintain their
  8   bond. Where Plaintiff goes, Dakota goes. Below is a photograph of Dakota as he
  9   looked when he and Plaintiff were denied access at Manor Care:
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 19          11.    It is self-evident to any reasonable person that Dakota is a service dog
 20   and should be allowed to accompany Plaintiff wherever she goes. This is also
 21   indicated by bright white letters against a black background that read, “SERVICE
 22   DOG,” across his harness.
 23          12.   One of Plaintiff’s close friends and neighbor was diagnosed with
 24   metastatic ovarian cancer. For treatment and assistance, Plaintiff’s friend moved
 25   into the ManorCare Health Services located 11680 Warner Avenue, Fountain
 26   Valley, California. Plaintiff’s friend called her and told her that she was having
 27   difficulty speaking. She asked Plaintiff to come and visit her at ManorCare and
 28

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  1   bring her a pen, notepad, and some packages that had been delivered to her
  2   apartment.
  3         13.    On May 24, 2022, Plaintiff’s friend David drove her and her service
  4   dog Dakota to ManorCare to visit her friend and deliver the requested items. When
  5   the group arrived at ManorCare, David waited in the car while Plaintiff loaded up a
  6   wagon with the items her friend had requested. She then approached the entrance
  7   of ManorCare with Dakota and the wagon of items. At the entrance, an employee
  8   of ManorCare stopped Plaintiff and told her that she could not enter the facility
  9   with her dog. Plaintiff explained that Dakota is a service dog is therefore allowed
 10   to accompany her wherever the public is allowed inside the facility. Although not
 11   required by law, Plaintiff also showed the employee Dakota’s service dog license.
 12   However, the employee told Plaintiff that due to Covid the laws had changed, and
 13   service doge were not allowed inside the facility. In reality, no such changes in
 14   federal or state law have taken place since the Covid pandemic as they relate to
 15   service dogs.
 16         14.    Plaintiff then asked the employee if he would deliver the packages,
 17   pen and notepad to her friend, but the employee refused. At this point, Plaintiff was
 18   forced to make the difficult decision of whether to leave ManorCare without
 19   visiting her friend or leaving her medically necessary service dog with David in the
 20   car while she delivered the items to her friend.
 21         15.    Plaintiff decided that she had to deliver the items to her friend. She
 22   left Dakota with David in the car, and she approached the entrance to the facility
 23   again. This time the employee allowed Plaintiff into the facility to visit her friend.
 24   However, Plaintiff did not feel comfortable being without Dakota for very long, so
 25   she only stayed to visit with her friend for about five minutes before she had to
 26   leave to get back to Dakota.
 27         16.    This incident was traumatic for Plaintiff who was demeaned,
 28   intimidated, and harassed for asserting her rights under the ADA and state law.

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  1   Defendant’s staff prevented her from having service animal accompany her to visit
  2   her sick friend, which resulted in Plaintiff having to choose between the danger of
  3   being without her medically necessary service dog and visiting her sick friend.
  4            17.   Plaintiff would like to return to Manor Care to visit her friend as soon
  5   as possible. However, Plaintiff can only feel comfortable returning to receive care
  6   after Defendant has implemented proper service animal policies and training of its
  7   staff.
  8                      FIRST CAUSE OF ACTION:
                   DAMAGES AND INJUNCTIVE RELIEF
  9    FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES
                      IN A PUBLIC ACCOMMODATION
 10                         (Civil Code §§ 54 et seq.)
 11            18.   Plaintiff re-pleads and incorporates by reference, as if fully set forth
 12   hereafter, the factual allegations contained in Paragraphs 1 through17 of this
 13   Complaint and all paragraphs of the third cause of action, as plead infra,
 14   incorporates them herein as if separately re-pleaded.
 15            19.   Under the California Disabled Persons Act (CDPA), people with
 16   disabilities are entitled to the “full and free use of . . . public buildings, . . . public
 17   facilities, and other public places.” Civil Code § 54(a).
 18            20.   Civil Code section 54.1(a)(1) further guarantees the right of “full and
 19   equal access” by persons with disabilities to “accommodations, advantages,
 20   facilities . . . hotels, lodging places of accommodation, amusement or resort, or
 21   other places to which the general public is invited.” Civil Code § 54.1(c) also
 22   specifies that, “individuals with a disability and persons authorized to train service
 23   dogs for individuals with a disability, may take dogs, for the purpose of training
 24   them as guide dogs, signal dogs, or service dogs in any of the places specified in
 25   subdivisions (a) and (b).”
 26            21.   Civil Code section 54.2(a) specifically protects the right of “every
 27   individual with a disability” “to be accompanied by a guide dog, signal dog, or
 28   service dog, especially trained for the purpose, in any of the places specified in

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  1   Section 54.1.”
  2         22.    Civil Code section 54.3(b) makes liable “Any person or persons, firm
  3   or corporation who denies or interferes with admittance to or enjoyment of the
  4   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
  5   rights of an individual with a disability under Sections 54, 54.1 and 54.2.” This
  6   section also specifies that, “‘[I]nterfere,’ for purposes of this section, includes, but
  7   is not limited to, preventing or causing the prevention of a guide dog, signal dog, or
  8   service dog from carrying out its functions in assisting a disabled person.”
  9         23.    Defendant is also in violation of California Penal Code section
 10   365.5(b) which states:
 11         No blind person, deaf person, or disabled person and his or her specially
            trained guide dog, signal dog, or service dog shall be denied admittance
 12         to accommodations, advantages, facilities, medical facilities, including
            hospitals, clinics, and physicians’ offices, telephone facilities, adoption
 13         agencies, private schools, hotels, lodging places, places of public
            accommodation, amusement or resort, and other places to which the
 14         general public is invited within this state because of that guide dog,
            signal dog, or service dog.
 15
            24.    Manor Care is a public accommodation within the meaning of the
 16
      CDPA. On information and belief, Defendant is the owners, operators, lessors or
 17
      lessees of the public accommodation.
 18
            25.     Defendant made the decision to knowingly and willfully exclude
 19
      Plaintiff and her service dog from its public accommodation and thereby deny
 20
      Plaintiff her right of entrance into its place of business with her service dog. As a
 21
      result of that decision Plaintiff has faced the continuing discrimination of being
 22
      barred from entering this public accommodation and place of business based upon
 23
      Defendant’s illegal prohibition of her legally protected use of her service dog.
 24
      Plaintiff has continued to suffer denial of access to these facilities, and faces the
 25
      prospect of unpleasant and discriminatory treatment should she attempt to return to
 26
      these facilities. Plaintiff is unable to return to Manor Care until she receives the
 27
      protection of this Court’s injunctive relief, and she has continued to suffer
 28

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  1   discrimination on a daily basis since May 24, 2022, all to her statutory damages
  2   pursuant to California Civil Code §§ 54.1, 54.2, and 54.3 and California Penal Code
  3   section 365.5.
  4         26.    INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit
  5   the acts and omissions of Defendant as complained of herein which are continuing
  6   on a day-to-day basis and which have the effect of wrongfully excluding Plaintiff
  7   and other members of the public who are disabled, including disabled individuals
  8   who require the assistance of service animals, from full and equal access to these
  9   public facilities. Such acts and omissions are the cause of humiliation and mental
 10   and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as
 11   an inferior and second-class citizen and serve to discriminate against her on the sole
 12   basis that she is a person with disabilities who requires the assistance of a service
 13   animal.
 14         27.    Plaintiff wishes to return to Manor Care but is deterred from returning
 15   to use these facilities, because the lack of access and the significant policy barriers
 16   will foreseeably cause her further difficulty, discomfort and embarrassment, and
 17   Plaintiff is unable, so long as such acts and omissions of Defendant continue, to
 18   achieve equal access to and use of these public facilities. Therefore, Plaintiff
 19   cannot return to Manor Care and its facilities and is deterred from further patronage
 20   until these facilities are made properly accessible for disabled persons, including
 21   Plaintiff and other disabled persons and disabled individuals who require the
 22   assistance of a service animal.
 23         28.    The acts of Defendant have proximately caused and will continue to
 24   cause irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks
 25   injunctive relief as to Defendant’s inaccessible policies. As to the Defendant that
 26   currently own, operate, and/or lease (from or to) the subject premises, Plaintiff
 27   seeks preliminary and permanent injunctive relief to enjoin and eliminate the
 28   discriminatory practices that deny full and equal access for disabled persons, and

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  1   seeks an award of reasonable statutory attorney fees, litigation expenses and costs.
  2         29.    Wherefore Plaintiff asks this Court to preliminarily and permanently
  3   enjoin any continuing refusal by Defendant to grant full and equal access to
  4   Plaintiff in the ways complained of and to require Defendant to comply forthwith
  5   with the applicable statutory requirements relating to access for disabled persons.
  6   Such injunctive relief is provided by California Civil Code sections 54.1, 54.2 and
  7   55, and other laws. Plaintiff further requests that the Court award damages
  8   pursuant to Civil Code section 54.3 and other law and attorney fees, litigation
  9   expenses, and costs pursuant to Civil Code sections 54.3 and 55, Code of Civil
 10   Procedure section 1021.5 and other law, all as hereinafter prayed for.
 11         30.    DAMAGES: As a result of the denial of full and equal access to the
 12   described facilities and due to the acts and omissions of Defendant in owning,
 13   operating, leasing, constructing, altering, and/or maintaining the subject facilities,
 14   Plaintiff has suffered a violation of her civil rights, including but not limited to
 15   rights under Civil Code sections 54 and 54.1, and has suffered difficulty,
 16   discomfort and embarrassment, and physical, mental and emotional personal
 17   injuries, all to her damages per Civil Code section 54.3, including general and
 18   statutory damages, and treble damages, as hereinafter stated. Defendant’s actions
 19   and omissions to act constitute discrimination against Plaintiff on the basis that she
 20   was and is physically disabled and unable, because of the policy barriers created
 21   and/or maintained by the Defendant in violation of the subject laws, to use the
 22   public facilities on a full and equal basis as other persons. The violations have
 23   deterred Plaintiff from returning to attempt to visit her friend Manor Care and will
 24   continue to cause her damages each day these barriers to access and policy barriers
 25   continue to be present.
 26         31.    Further, although it is not necessary for Plaintiff to prove wrongful
 27   intent in order to show a violation of California Civil Code sections 54 and 54.1 or
 28   of Title III of the ADA (see Donald v. Café Royale, 218 Cal. App. 3d 168, 177

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   1   (1990)), Defendant’s behavior was intentional. Defendant was aware and/or were
   2   made aware of its duties to refrain from establishing discriminatory policies against
   3   disabled persons, prior to the filing of this complaint. Defendant’s establishment of
   4   its discriminatory policy to deny and restrict entry to persons with service dogs, and
   5   its implementation of such a discriminatory policy against Plaintiff, indicate actual
   6   and implied malice toward Plaintiff and conscious disregard for her rights and
   7   safety.
   8         32.    FEES AND COSTS: As a result of Defendant’s acts, omissions, and
   9   conduct, Plaintiff has been required to incur attorney fees, litigation expenses, and
  10   costs as provided by statute, in order to enforce Plaintiff’s rights and to enforce
  11   provisions of the law protecting access for disabled persons and prohibiting
  12   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
  13   reasonable attorney fees, litigation expenses, and costs, pursuant to the provisions
  14   of Civil Code sections 54.3 and 55. Additionally, Plaintiff’s lawsuit is intended to
  15   require that Defendant make its facilities accessible to all disabled members of the
  16   public, justifying “public interest” attorney fees, litigation expenses and costs
  17   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and
  18   other applicable law.
  19         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
  20                           SECOND CAUSE OF ACTION:
                  VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH
  21             ACT, CIVIL CODE SECTIONS 51 AND 52, AND THE AMERICANS
                        WITH DISABILITIES ACT AS INCORPORATED
  22                           BY CIVIL CODE SECTION 51(f)
  23         33.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
  24   again herein, the allegations contained in Paragraphs 1 through 32 of this
  25   Complaint and incorporates them herein as if separately re-pleaded.
  26         34.    At all times relevant to this action, the Unruh Civil Rights Act,
  27   California Civil Code § 51(b), provided that:
  28         All persons within the jurisdiction of this state are free and equal, and
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   1           no matter what their sex, race, color, religion, ancestry, national origin,
               disability, or medical condition are entitled to the full and equal
   2           accommodations, advantages, facilities, privileges, or services in all
               business establishments of every kind whatsoever.
   3

   4           35.   California Civil Code section 52 provides that the discrimination by
   5   Defendant against Plaintiff on the basis of her disability constitutes a violation of
   6   the general anti-discrimination provisions of sections 51 and 52.
   7           36.   Manor Care is a business establishment within the meaning of the
   8   Unruh Act. Defendants are the owners and operators of the business establishment.
   9           37.   Each of Defendant’s discriminatory acts or omissions constitutes a
  10   separate and distinct violation of California Civil Code section 52, which provides
  11   that:
  12           Whoever denies, aids or incites a denial, or makes any discrimination
               or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
  13           every offense for the actual damages, and any amount that may be
               determined by a jury, or a court sitting without a jury, up to a maximum
  14           of three times the amount of actual damage but in no case less than four
               thousand dollars ($4,000), and any attorney’s fees that may be
  15           determined by the court in addition thereto, suffered by any person
               denied the rights provided in Section 51, 51.5, or 51.6.
  16
               38.   Any violation of the Americans with Disabilities Act of 1990
  17
       constitutes a violation of California Civil Code section 51(f), thus independently
  18
       justifying an award of damages and injunctive relief pursuant to California law,
  19
       including Civil Code section 52. Per Civil Code section 51(f), “A violation of the
  20
       right of any individual under the Americans with Disabilities Act of 1990 (Public
  21
       Law 101-336) shall also constitute a violation of this section.”
  22
               39.   The actions and omissions of Defendant as herein alleged constitute a
  23
       denial of access to and use of the described public facilities by disabled persons
  24
       who use service dogs within the meaning of California Civil Code sections 51 and
  25
       52. As a proximate result of Defendant’s action and omissions, Defendant has
  26
       discriminated against Plaintiff in violation of Civil Code sections 51 and 52, and are
  27
       responsible for statutory, compensatory and treble damages to Plaintiff, according
  28

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   1   to proof.
   2         40.    Defendant’s behavior was intentional: Defendant waw aware and/or
   3   was made aware of its duties to refrain from establishing discriminatory policies
   4   against physically disabled persons, prior to the filing of this Complaint.
   5   Defendants’ establishment of their discriminatory policy to deny and restrict entry
   6   to persons with service dogs, and their implementation of such a discriminatory
   7   policy against Plaintiff, indicate actual and implied malice toward Plaintiff and
   8   conscious disregard for her rights and safety.
   9         41.    FEES AND COSTS: As a result of Defendant’s acts, omissions and
  10   conduct, Plaintiff has been required to incur attorney fees, litigation expenses and
  11   costs as provided by statute in order to enforce Plaintiff’s rights and to enforce
  12   provisions of law protecting access for disabled persons and prohibiting
  13   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
  14   reasonable attorney fees, litigation expenses and costs pursuant to the provisions of
  15   California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is
  16   intended to require that Defendant make its facilities and policies accessible to all
  17   disabled members of the public, justifying “public interest” attorney fees, litigation
  18   expenses and costs pursuant to the provisions of California Code of Civil Procedure
  19   section 1021.5 and other applicable law.
  20         42.    Plaintiff suffered damages as above-described as a result of
  21   Defendant’s violations.
  22       WHEREFORE, Plaintiff prays for relief as hereinafter stated.
                         THIRD CAUSE OF ACTION:
  23    VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
                            (42 USC §§ 12101 et seq.)
  24
             43.     Plaintiff repleads and incorporates by reference, as if fully set forth
  25
       again herein, the factual allegations contained in Paragraphs 1 through 42, above,
  26
       and incorporates them herein by reference as if separately repled hereafter.
  27
             44.    In 1990 Congress passed the Americans with Disabilities Act after
  28

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   1   finding that laws were needed to more fully protect “some 43 million Americans
   2   with one or more physical or mental disabilities; that historically society has tended
   3   to isolate and segregate individuals with disabilities;” that “such forms of
   4   discrimination against individuals with disabilities continue to be a serious and
   5   pervasive social problem”; that “the Nation’s proper goals regarding individuals
   6   with disabilities are to assure equality of opportunity, full participation, independent
   7   living and economic self-sufficiency for such individuals”; and that “the continuing
   8   existence of unfair and unnecessary discrimination and prejudice denies people
   9   with disabilities the opportunity to compete on an equal basis and to pursue those
  10   opportunities for which our free society is justifiably famous.” 42 U.S.C. §
  11   12101(a).
  12         45.    The ADA provides, “No individual shall be discriminated against on
  13   the basis of disability in the full and equal enjoyment of the goods, services,
  14   facilities, privileges, advantages, or accommodations of any place of public
  15   accommodation by any person who owns, leases, or leases to, or operates a place of
  16   public accommodation.” 42 USC § 12182.
  17         46.    Plaintiff is a qualified individual with a disability as defined in the
  18   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
  19         47.    Manor Care is a public accommodation within the meaning of Title III
  20   of the ADA. 42 U.S.C. § 12181(7)(F).
  21         48.    The ADA prohibits, among other types of discrimination, “failure to
  22   make reasonable modifications in policies, practices or procedures when such
  23   modifications are necessary to afford such goods, services, facilities, privileges,
  24   advantages or accommodations to individuals with disabilities.” 42 U.S.C. §
  25   12182(b)(2)(A)(ii).
  26         49.    Under the “2010 Revised ADA Requirements: Service Animals,” as
  27   published by the United States Department of Justice, and distributed by the DOJ’s
  28   Civil Rights Division, Disability Rights Section, “Generally, title II and title III

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   1   entities must permit service animals to accompany people with disabilities in all
   2   areas where members of the public are allowed to go.” ADA 2010 Revised
   3   Requirements, www.ada.gov/service -animals-2010.htm Further,
   4         Under the ADA, State and local governments, businesses, and
             nonprofit organizations that serve the public generally must allow
   5         service animals to accompany people with disabilities in all areas of
             the facility where the public is normally allowed to go. For example,
   6         in a hospital it would be inappropriate to exclude a service animal from
             areas such as patient rooms, clinics, cafeterias, or examination rooms.
   7         However, it may be appropriate to exclude a service animal from
             operating rooms or burn units where the animal’s presence may
   8         compromise a sterile environment.
   9
       Ibid., emphasis in original. Plaintiff has never requested that her service dog be
  10
       allowed in operating rooms or burn units.
  11
             50.    Defendant has a policy and practice of denying and restricting access
  12
       to patients with service animals.
  13
             51.    On information and belief, as of the date of Plaintiff’s most recent visit
  14
       to Manor Care on or about May 24, 2022, Defendant continues to deny full and
  15
       equal access to Plaintiff and to discriminate against Plaintiff on the basis of her
  16
       disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of the
  17
       goods, services, facilities, privileges, advantages and accommodations of
  18
       Defendant’s premises, in violation of the ADA.
  19
             52.    In passing the Americans with Disabilities Act of 1990 (hereinafter
  20
       “ADA”), Congress stated as its purpose:
  21
                    It is the purpose of this Act
  22
             (1) to provide a clear and comprehensive national mandate for the
  23         elimination of discrimination against individuals with disabilities;
  24         (2) to provide clear, strong, consistent, enforceable standards addressing
             discrimination against individuals with disabilities;
  25
             (3) to ensure that the Federal Government plays a central role in enforcing
  26         the standards established in this Act on behalf of individuals with disabilities;
             and
  27
             (4) to invoke the sweep of congressional authority, including the power to
  28         enforce the fourteenth amendment and to regulate commerce, in order to

                                                    14
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   1          address the major areas of discrimination faced day-to-day by people with
              disabilities.
   2

   3   42 USC § 12101(b).
   4
              53.    As part of the ADA, Congress passed “Title III - Public

   5
       Accommodations and Services Operated by Private Entities” (42 USC § 12181 et

   6
       seq.). The subject property and facility is one of the “private entities” which are

   7
       considered “public accommodations” for purposes of this title, which includes but

   8
       is not limited to any “professional office of a health care provider” or “hospital.” 42

   9
       USC § 12181(7)(F).

  10
              54.    The ADA states that “No individual shall be discriminated against on

  11
       the basis of disability in the full and equal enjoyment of the goods, services,

  12
       facilities, privileges, advantages, or accommodations of any place of public

  13
       accommodation by any person who owns, leases, or leases to, or operates a place of

  14
       public accommodation.” 42 U.S.C. § 12182. The specific prohibitions against

  15
       discrimination include, but are not limited to the following:

  16
       § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory

  17
       to afford an individual or class of individuals, on the basis of a disability or

  18
       disabilities of such individual or class, directly, or through contractual, licensing, or

  19
       other arrangements, with the opportunity to participate in or benefit from a good,

  20
       service, facility, privilege, advantage, or accommodation that is not equal to that

  21
       afforded to other individuals.”

  22
       § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies,

  23
       practices, or procedures when such modifications are necessary to afford such

  24
       goods, services, facilities, privileges, advantages, or accommodations to individuals

  25
       with disabilities...;”

  26
       § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure

  27
       that no individual with a disability is excluded, denied service, segregated, or

  28
       otherwise treated differently than other individuals because of the absence of

                                                     15
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   1   auxiliary aids and services...;”
   2   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and
   3   communication barriers that are structural in nature, in existing facilities... where
   4   such removal is readily achievable;”
   5   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier
   6   under clause (iv) is not readily achievable, a failure to make such goods, services,
   7   facilities, privileges, advantages, or accommodations available through alternative
   8   methods if such methods are readily achievable.”
   9         The acts and omissions of Defendant set forth herein were in violation of
  10   Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
  11   C.F.R. Part 36 et seq.
  12         55.      The removal of each of the policy barriers complained of by Plaintiff
  13   as hereinabove alleged, were at all times herein mentioned “readily achievable”
  14   under the standards of sections 12181 and 12182 of the ADA. As noted
  15   hereinabove, removal of each and every one of the policy barriers complained of
  16   herein were already required under California law. In the event that removal of any
  17   barrier is found to be “not readily achievable,” Defendant still violated the ADA,
  18   per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
  19   advantages and accommodations through alternative methods that were “readily
  20   achievable.”
  21         56.      On information and belief, as of the dates of Plaintiff’s encounters at
  22   the premises and as of the filing of this Complaint, Defendant’s actions, policies,
  23   and physical premises have denied and continue to deny full and equal access to
  24   Plaintiff and to other disabled persons who work with service dogs, which violates
  25   Plaintiff’s right to full and equal access and which discriminates against Plaintiff on
  26   the basis of her disabilities, thus wrongfully denying to Plaintiff the full and equal
  27   enjoyment of the goods, services, facilities, privileges, advantages and
  28   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

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   1         57.    Defendant’s actions continue to deny Plaintiff’s rights to full and equal
   2   access by deterring Plaintiff from visiting her friend at Manor Care and
   3   discriminated and continue to discriminate against her on the basis of her
   4   disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of
   5   Defendant’s goods, services, facilities, privileges, advantages and accommodations,
   6   in violation of section 12182 of the ADA. 42 U.S.C. § 12182.
   7         58.    Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections
   8   12188 et seq., Plaintiff is entitled to the remedies and procedures set forth in
   9   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is
  10   being subjected to discrimination on the basis of her disabilities in violation of
  11   sections 12182 and 12183 of this title. On information and belief, Defendant has
  12   continued to violate the law and deny the rights of Plaintiff and other disabled
  13   persons to “full and equal” access to this public accommodation since on or before
  14   Plaintiff’s encounters. Pursuant to section 12188(a)(2).
  15         [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)...
             injunctive relief shall include an order to alter facilities to make such
  16         facilities readily accessible to and usable by individuals with disabilities
             to the extent required by this title. Where appropriate, injunctive relief
  17         shall also include requiring the provision of an auxiliary aid or service,
             modification of a policy, or provision of alternative methods, to the
  18         extent required by this title.
  19
             59.    Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of
  20
       the Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal
  21
       Regulations adopted to implement the Americans with Disabilities Act of 1990.
  22
       Plaintiff is a qualified disabled person for purposes of section 12188(a) of the ADA
  23
       who is being subjected to discrimination on the basis of disability in violation of
  24
       Title III and who has reasonable grounds for believing she will be subjected to such
  25
       discrimination each time that she may use the property and premises, or attempt to
  26
       patronize Manor Care, in light of Defendant’s policy barriers.
  27
             WHEREFORE, Plaintiff prays for relief as hereinafter stated.
  28

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   1                                           PRAYER
   2         Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
   3   forth in this Complaint. Plaintiff has suffered and will continue to suffer
   4   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
   5   of the Defendant as alleged herein, unless Plaintiff is granted the relief she
   6   requests. Plaintiff and Defendant have an actual controversy and opposing legal
   7   positions as to Defendant’s violations of the laws of the United States and the State
   8   of California. The need for relief is critical because the rights at issue are
   9   paramount under the laws of the United States and the State of California.
  10         WHEREFORE, Plaintiff Roberta Martinez prays for judgment and the
  11   following specific relief against Defendant:
  12         1.      An order enjoining Defendant, its agents, officials, employees, and all
  13   persons acting in concert with them:
  14              a. From continuing the unlawful acts, conditions, and practices described
  15                 in this Complaint;
  16              b. To modify their policies and practices to accommodate service dog
  17                 users in conformity with federal and state law, and to advise Plaintiff
  18                 that her service dog will not be excluded should she desire to enter and
  19                 use the services of Manor Care;
  20              c. That the Court issue preliminary and permanent injunction directing
  21                 Defendant as current owners, operators, lessors, and/or lessees and/or
  22                 their agents of the subject property and premises to modify the above
  23                 described property, premises, policies and related policies and
  24                 practices to provide full and equal access to all persons, including
  25                 persons with disabilities; and issue a preliminary and permanent
  26                 injunction pursuant to ADA section 12188(a) and state law directing
  27                 Defendant to provide facilities usable by Plaintiff and similarly
  28                 situated persons with disabilities, and which provide full and equal

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   1                 access, as required by law, and to maintain such accessible facilities
   2                 once they are provided and to train Defendant’s employees and agents
   3                 in how to recognize disabled persons and accommodate their rights
   4                 and needs;
   5              d. An order retaining jurisdiction of this case until Defendant have fully
   6                 complied with the orders of this Court, and there is a reasonable
   7                 assurance that Defendant will continue to comply in the future absent
   8                 continuing jurisdiction;
   9         2.      An award to Plaintiff of statutory, actual, general, treble, and punitive
  10   damages in amounts within the jurisdiction of the Court, all according to proof;
  11         3.      An award of civil penalty as against Defendant under California Penal
  12   Code § 365.5(c);
  13         4.      An award to Plaintiff pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a,
  14   California Civil Code §§ 52 and 54.3, California Code of Civil Procedure § 1021.5,
  15   and as otherwise permitted by law, of the costs of this suit and reasonable attorneys’
  16   fees and litigation expenses;
  17         5.      An award of prejudgment interest pursuant to Civil Code § 3291;
  18         6.      Interest on monetary awards as permitted by law; and
  19         7.      Grant such other and further relief as this Court may deem just and
  20   proper.
  21   Date: July 12, 2022                                REIN & CLEFTON
  22
                                                             /s/ Aaron M. Clefton
  23                                                      By AARON M. CLEFTON, Esq.
  24                                                      Attorneys for Plaintiff
                                                          ROBERTA MARTINEZ
  25   //

  26   //

  27   //
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   1                                     JURY DEMAND
   2         Plaintiff hereby demands a trial by jury for all claims for which a jury is
   3   permitted.
   4   Date: July 12, 2022                              REIN & CLEFTON
   5
                                                           /s/ Aaron M. Clefton
   6                                                    By AARON M. CLEFTON, Esq.
   7                                                    Attorneys for Plaintiff
                                                        ROBERTA MARTINEZ
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